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                                            UNITED STATES DISTRICT COURT
                                                  DISTRICT OF COLUMBIA
            REV. PATRICK J. MAHONEY                           )
            4019 Duke of Gloucester Street                    )
            Fredericksburg, VA 22407                          )
                                                              )
            Plaintiff,                                        )
                                                              )
            v.                                                )
                                                              )
            SPEAKER NANCY PELOSI, in her Official )
            Capacity as Speaker of the House,                 )
            House of Representatives                          )
            Washington DC Office                              )
            1236 Longworth H.O.B.                             )
            Washington, DC 20515;                             )
                                                              )
            VICE PRESIDENT KAMALA HARRIS, in                  )
            her Official Capacity as President of the Senate, )
            President of the Senate Office                    )
            112 Hart S.O.B.                                   )
            Washington, DC 20510                              )
                                                              )
            THE UNITED STATES CAPITOL POLICE )
            BOARD,                                            )
            United States Capitol Police                      )
            119 D Street, NE                                  )
            Washington, DC 20510;                             )
                                                              )
            and                                               )
                                                              )
            KAREN H. GIBSON, in her Official Capacity )
            as Sergeant of Arms and Doorkeeper for the        )
            United States Senate and Chairperson of the       )
            United States Capitol Police Board,               )
            U.S. Capitol                                      )
            Room S-151                                        )
            Washington, DC 20510                              )
                                                              )
                             Defendants.                      )


                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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                                                   NATURE OF THE CASE

                     1.      Plaintiff files this civil action, seeking injunctive and declaratory relief, to

            vindicate his rights under federal law, including the First and Fifth Amendments to the United

            States Constitution. The Plaintiff, Rev. Mahoney, is an ordained Presbyterian Minister who seeks

            to exercise his constitutional right to conduct a prayer vigil in a traditional public forum at the

            United States Capitol. Plaintiff desires to host a prayer vigil on Capitol grounds on April 2,

            2021—the traditional Christian observance of Good Friday—for the express purpose of

            beseeching God’s healing from the divisiveness and anxiety lingering over our nation since the

            tragic events of January 6, 2021.

                     2.      Plaintiff’s application for a permit to hold a Good Friday prayer vigil is in the

            exact same location where he held his Good Friday prayer vigil in 2020. In 2020, Plaintiff

            worked with Capitol Police to ensure that he was able to safely hold a prayer vigil on Capitol

            grounds even though COVID-19 was constraining the nation.

                     3.      The sidewalks and other public grounds appurtenant to and surrounding the

            United States Capitol, traditional public forums, are currently fenced off to the public and have

            been since January 6, 2021. Plaintiff’s speech has been unconstitutionally deemed unworthy by

            the Defendants.

                     4.      Defendants’ blanket denial of the permitting processes on a traditional public

            forum is additionally impermissible because they act as a prior restraint on speech. In closing the

            sidewalks and public areas around the Capitol, including the Lower Western Terrace Plaintiff

            seeks to utilize, Defendants have effectively created a no-speech zone around the nations

            Capitol. Defendants prevent any First Amendment activities on/in these areas, even though no

            specific threat to the Capitol has been identified in justification. Defendants further refuse to




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            inform the Plaintiff of when public sidewalks surrounding these halls of power may once again

            be utilized for public speech.

                     5.      An actual controversy exists between the parties involving substantial

            constitutional issues. Speech directed at influencing the government is sacred in our form of

            government. Defendants’ policies violate the Constitution by investing public officials with the

            authority to decide which speech is appropriate on Capitol grounds, and through the prior

            restraint of speech in a traditional public forum, which is why the Plaintiff respectfully requests

            this Court’s intervention to allow Plaintiff to exercise his free speech rights on the sidewalks

            appurtenant to and around the Capitol Building, and specifically, the Lower Western Terrace of

            the Capitol Building, in Washington, DC.

                                                JURISDICTION AND VENUE

                     6.      This action arises under the First and Fifth Amendments to the United States

            Constitution, 42 U.S.C. Section 1983, and 42 U.S.C. Section 2000bb. Jurisdiction is invoked

            pursuant to 28 U.S.C. Sections 1331 and 1343.

                     7.      Because this Plaintiff has sought permission from the Defendants in order to

            conduct the prayer vigil on April 2, 2021, on the Capitol Grounds, and specifically, on the Lower

            Western Terrace of the Capitol Building, that is still fenced off, and furthermore, pursuant to the

            Defendants residing within this Court’s district, and finally, because the subject matter is located

            within the District of Columbia, venue is proper in the United States District Court for the

            District of Columbia, pursuant to 28 U.S.C. Section 1391.

                                                             PARTIES

                     8.      Plaintiff Reverend Patrick J. Mahoney is a resident of the State of Virginia, and an

            individual that chooses to exercise his First Amendment rights throughout this nation. Plaintiff




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            Mahoney is an ordained Presbyterian Minister and holds firm the belief that Jesus Christ is Lord

            and Savior. Plaintiff Mahoney firmly believes that he has been commissioned by the Lord Jesus

            Christ to spread the good news of the gospel, and to speak out in support of human rights and

            justice. Plaintiff Mahoney has requested permission from the Defendants to use the sidewalks

            appurtenant to and around the Capitol Building, specifically, the Lower Western Terrace of the

            Capitol Building, to exercise his First Amendment rights in the District of Columbia. The

            Defendants informed Plaintiff Mahoney that he does not have consent to use these noted

            sidewalks, nor can Plaintiff use the grounds at the Lower Western Terrace. These acts by

            Defendants have effectively created a no-speech zone in one of the most important public forums

            in the nation.

                     9.      Defendants are sued in their official capacity as the Speaker of the House of

            Representatives, the Capitol Police Board, and the Sergeant of Arms of the Senate. The

            Defendants have control and authority over the practices and policies complained of in this

            complaint.

                     10.     Defendant, Speaker Nancy Pelosi, is sued in her Official Capacity as Speaker of

            the House of Representatives.

                     11.     Defendant, Vice President Kamala Harris, is sued in her Official Capacity as

            President of the United States Senate.

                     12.     The Capitol Police Board is sued as the Oversight Body of the Capitol Police

            Department. The Capitol Police Board oversees and supports the United States Capitol Police in

            its mission and helps to advance coordination between the Department and the Sergeant at Arms

            of the House of Representatives and the Sergeant at Arms and Doorkeeper of the Senate, in their

            law enforcement capacities, and the Congress.




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                     13.     The Sergeant of Arms of the Senate, Karen H. Gibson, is sued in her Official

            Capacity as the Sergeant and Doorkeeper of the United States Senate and in her Official

            Capacity as the Chair of the Capitol Police Board.

                                                  STATEMENT OF FACTS

                     14.     On January 6, 2021, rioters occupied the Capitol Grounds, and entered the Capitol

            Building itself, in an unprecedented manner. The Capitol complex was locked down, and

            lawmakers and staff were evacuated while rioters entered and vandalized the building for several

            hours. Five people died and more than 140 were injured. The rioters targeted House Speaker

            Pelosi’s Office, as well as other elected officials’ offices, engaging in vandalism and generally

            causing havoc and destruction, before eventually being rebuffed by the Capitol Police and other

            federal law enforcement agencies.

                     15.     As a result of this event, the Capitol leadership mobilized the National Guard and

            erected fences around numerous federal buildings, including the Capitol Grounds and Building

            itself. Many of those fences have been removed; however, the fencing around the Capitol

            grounds, and specifically, the Lower Western Terrace at the Capitol, is still in place with no

            apparent date for its removal. Undeniably, at the time the fencing was erected around the Capitol

            Building and surrounding grounds, an imminent national security threat existed; however, that

            threat has subsided due to the intervening event of the inauguration of a new President.

                     16.     Plaintiff asserts there is no specific threat to the Capitol Building, or surrounding

            grounds, that warrants, nor justifies, a continuation of the trampling of First Amendment

            activities on the grounds of the Capitol Building, and specifically, on the Lower Western Terrace

            of the Capitol Building. To support this contention, Plaintiff alleges that he has witnessed many

            people entering and using the Capitol grounds since January 6, 2021. Those individuals would




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            include members of Congress and their staff, vendors, representatives of the media and their

            staff, along with invited guests of Congressional members and staff.

                     17.     Over the last several weeks, Plaintiff has personally observed a media crew going

            through the gate at the United States Capitol, and media have interviewed congressional

            members on Capitol grounds. Plaintiff has also observed non-military, non-congressional,

            commercial vehicles including trucks enter the United States Capitol grounds. Plaintiff has

            spoken to members who have met with constituents at the Capitol, and he knows that ministers

            have been given access to the Capitol grounds.

                     18.     The Plaintiff is a peaceful man of God and feels called upon to pray for the United

            States. He wants to do so at the same place where the attempted and failed insurrection took

            place. The Plaintiff strongly denounces the criminal conduct by the rioters on January 6, 2021,

            and cries out against the violence and loss of life that took place that fateful day in this nation’s

            history. The Plaintiff asserts that he does not pose a national security threat to the United States,

            nor to the House of Representatives, nor the Senate, nor the Capitol Police Department and their

            officers, nor the Capitol Building and/or surrounding grounds. The Plaintiff only wants to

            discharge his obligation to God Almighty by praying for a healing for the United States, all of

            our elected leaders, the people of this nation, and for the Defendants in this action.

                     19.     Defendants require an individual or group to obtain permission from government

            officials in order to exercise their First Amendment rights on the public sidewalks surrounding

            the Capitol Building, and specifically, the Lower Western Terrace at the Capitol. An individual

            or group must obtain permission from Defendant Capitol Police Board, that has jurisdiction over

            the Lower Western Terrace, and other sidewalks and other public areas where the individual or

            group intends to exercise their First Amendment rights. The Defendants have refused to grant




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            consent to Plaintiff for his proposed First Amendment activities on Friday, April 2, 2021, also

            known as Good Friday, at the Lower Western Terrace and other public areas in front of the

            Capitol Building.

                     20.     The Lower Western Terrace of the United States Capitol is a traditional public

            forum for free speech. Over the last thirty-plus years, Plaintiff has held numerous permitted and

            unpermitted religious events at this location. Plaintiff has held Good Friday services as well as

            other prayer vigils there on numerous occasions. Last year, Plaintiff held a Good Friday prayer

            service at that location, and Plaintiff has held at least three permitted Good Friday services at that

            location. In addition, he has held approximately thirty other permitted events at the Lower

            Western Terrace. On numerous other occasions, Plaintiff has not gone through the permit

            process to hold events on the Lower Western Terrace as no permit was required for events

            expecting attendance below twenty individuals.

                     21.     Almost eighty percent of all of Plaintiff’s events at the Capitol have taken place at

            the Lower Western Terrace. This location is a central, critical location for free speech expression

            at the Capitol. This location has a long history of hosting free speech activities. The Lower

            Western Terrace is also located between the House and Senate, which is important to Plaintiff as

            he wishes to pray for healing for both houses of Congress.

                     22.     On February 2, 2021, Plaintiff applied to the Capitol Police for a permit to hold a

            Good Friday service on the Lower Western Terrace. Plaintiff has been in contact with the United

            States Capitol Police, and Plaintiff has a thirty-year relationship with the United States Capitol

            Police. After subsequent conversations with Officer Henry and Lieutenant Grossi of the Capitol

            Police, Plaintiff was hopeful that his application would be approved. At one point, Officer Henry

            offered Plaintiff an alternative site for the Good Friday vigil on the western side of the Capitol by




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            a large statute of Ulysses S. Grant. Plaintiff declined because this location is further away from

            the Capitol and lawmakers than where the Plaintiff has traditionally held his Good Friday prayer

            vigil, at the Lower Western Terrace. On March 24, 2021, Plaintiff was informed by Officer

            Henry that the Lower Western Terrace was a restricted area and that Plaintiff’s permit

            application could not be processed.

                     23.     Defendants’ refusal to grant Plaintiff permission to exercise his First Amendment

            rights works an undue hardship upon this Plaintiff and deprives and infringes upon this

            Plaintiff’s constitutional rights.

                     24.     Defendants’ acts allow for the process of obtaining consent or denial for the use

            of a particular sidewalk to be extended into perpetuity without justification.

                     25.     Defendants’ acts grant public officials unduly broad discretion in determining

            whether to grant or deny a permit and/or use of a particular sidewalk. The Capitol Building is the

            People’s House, a place that has historically been open to First Amendment activities. The

            Defendants have sole control over whether or not the fencing comes down, or remains in place,

            all the while engaging in impermissible constitutional conduct by infringing upon this Plaintiff’s

            rights to free speech.

                     26.     The acts of the Defendants’ amount to an impermissible prior restraint on the First

            Amendment rights of this complaining Plaintiff.

                     27.     As a result of the Defendants’ conduct, Plaintiff has suffered, is suffering, and

            will continue to suffer severe, irreparable injuries and violations of his fundamental federal

            constitutional rights by virtue of the acts/conduct set forth herein. Moreover, the acts of the

            Defendants’ chill and deter, and will continue to chill and deter, Plaintiff’s exercise of his

            constitutional rights.




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                     28.     Unless this Court intervenes, Defendants will continue to enforce prior restraints

            on speech in violation of the Plaintiff’s First Amendment and statutory rights.

                     29.     Plaintiff has no plain, adequate, or complete remedy at law to address these

            violations of his constitutional rights, and injunctive and declaratory relief are Plaintiff’s only

            means of securing complete and adequate relief. No other remedy would offer Plaintiff

            substantial and complete protection from continuation of Defendants’ unlawful and

            unconstitutional acts, policies, and conduct.

                     30.     The continued irreparable injury of Plaintiff’s’ fundamental rights is both great

            and immediate, as Defendants’ interpretation and application of their continuing impermissible

            acts flagrantly violate and impede Plaintiff’s federal constitutional rights. The future chilling of

            these rights is an absolute certainty unless and until this Court grants the relief requested herein.

            Under these circumstances, remedies at law are entirely inadequate.

                                                     CAUSES OF ACTION

                                             FIRST CAUSE OF ACTION
                     Claim for Violation of Plaintiff’s Constitutional Rights to Freedom of Speech
                                       as guaranteed by the First Amendment

                     31.     The Plaintiff hereby incorporates by reference paragraphs 1 through 30 of this

            complaint as though fully set forth herein.

                     32.     By policy and practice, Defendants have created an open forum by government

            designation by making public property indiscriminately available to “community groups and

            organizations that provide information, counseling, educational, social, cultural, and recreational

            activities.” The Defendants have further created an open forum of free speech by displaying and

            allowing to be displayed in and throughout the Capitol Grounds in the past and up to recent days,

            numerous monuments and other articles that include speech of different opinions and beliefs,

            including but not limited to, the staging of public events.

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                     33.     Defendants have promulgated through their acts and present practices a scheme

            for indefinitely denying permit applications and for requests to use particular sidewalks, public

            grounds and other public areas, and specifically, the Lower Western Terrace of the Capitol. The

            complained of acts and present practices allow for the enjoyment of unduly broad discretion by

            public officials in determining whether to grant or deny a permit or request for use of particular

            public grounds traditionally considered public fora. There are no provisions inherent in the acts

            and present policies that safeguard the Plaintiff’s requests for public access from unfettered or

            unbridled discretion by these public officials in the determination of granting or denying the

            Plaintiff’s requests.

                     34.     No compelling government interest exists which justifies Defendants’

            discrimination against Plaintiff.

                     35.     Defendants’ discrimination against protected speech is not a narrowly tailored

            means enacted to serve a compelling government interest.

                     36.     Defendants have imposed an unlawful system of prior restraint in violation of the

            rights to freedom of speech which are clearly established under the United States Constitution.

                     37.     The Defendants’ acts and present practices are facially unconstitutional due to

            overbreadth because they unnecessarily sweep protected speech within its application.

                     38.     The Defendants’ prohibition is unconstitutional on its face and as applied because

            it discriminates against protected First Amendment speech in a designated open forum.

                     39.     Plaintiff has no adequate remedy at law and will suffer serious and irreparable

            harm to his constitutional rights unless Defendants are enjoined.




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                     40.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory relief

            and temporary, preliminary, and permanent injunctive relief invalidating and restraining

            Defendants from violating Plaintiff’s constitutional rights.

                     41.     Plaintiff found it necessary to engage the services of private counsel to vindicate

            his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees pursuant to

            42 U.S.C. § 1988.

                                         SECOND CAUSE OF ACTION
                             Claim for Violation of Plaintiff’s Constitutional Rights to
                    Freedom of Association and Assembly as guaranteed by the First Amendment

                     42.     The Plaintiff hereby incorporates by reference paragraphs 1 through 41 of this

            complaint as though fully set forth herein.

                     43.     The acts and present practices of the Defendants are unconstitutional on their face

            and/or as applied in that they do not bear a rational relationship to the purpose that the practices

            and policies are intended to accomplish.

                     44.     The Plaintiff intends to peacefully assembly and exercise his constitutional right

            to association prior to the Plaintiff’s planned prayer vigil at the Lower Western Terrace at the

            Capitol in seeking the Lord Jesus Christ’s healing upon this nation in response to the awful

            events that unfolded at the Capitol Building on January 6, 2021. The Plaintiff wants to exercise

            his First Amendment rights by holding a prayer vigil at the Lower Western Terrace at the Capitol

            on April 2, 2021. The acts and present practices of the Defendants prevent him from doing so in

            traditional public fora.

                     45.     The Defendants’ acts and present practices interfere with the Plaintiff’s rights to

            assemble and associate in the District of Columbia in front of the Capitol Building on April 2,

            2021, and Defendants should be enjoined from enforcing, effecting, or otherwise implementing

            the acts and present practices complained of herein.

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                     46.     Plaintiff has no adequate remedy at law and will suffer serious and irreparable

            harm to his constitutional rights unless Defendants are enjoined.

                     47.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory relief

            and temporary, preliminary, and permanent injunctive relief invalidating and restraining

            Defendants from violating Plaintiff’s constitutional rights.

                     48.     Plaintiff found it necessary to engage the services of private counsel to vindicate

            his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees pursuant to

            42 U.S.C. § 1988.

                                            THIRD CAUSE OF ACTION
              Claim for Violation of Plaintiff’s Constitutional Right to the Free Exercise of Religion as
                                        Guaranteed by the First Amendment

                     49.     Plaintiff hereby incorporates by reference paragraphs 1 through 48 of this

            complaint as though fully set forth herein.

                     50.     Defendants’ acts and policies violate the First Amendment, both facially and as-

            applied to Plaintiff. The First Amendment of the Constitution protects the “free exercise” of

            religion. Fundamental to this protection is the right to gather and worship. See W. Va. State Bd.

            of Educ. v. Barnette, 319 U.S. 624, 638 (1943) (“The very purpose of a Bill of Rights was to

            withdraw certain subjects from the vicissitudes of political controversy, to place them beyond the

            reach of majorities and officials and to establish them as legal principles to be applied by the

            courts … [such as the] freedom of worship and assembly.”). The Free Exercise Clause applies to

            the Congress.

                     51.     As the Supreme Court has noted, “a law burdening religious practice that is not

            neutral or not of general application must undergo the most rigorous of scrutiny.” Church of the

            Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 546 (1993). “A law is not generally

            applicable if its prohibitions substantially underinclude non-religiously motivated conduct that

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            might endanger the same governmental interest that the law is designed to protect.” Stormans,

            Inc. v. Wiesman, 794 F.3d 1064, 1079 (9th Cir. 2015). “In other words, if a law pursues the

            government’s interest ‘only against conduct motivated by religious belief,’ but fails to include in

            its prohibitions substantial, comparable secular conduct that would similarly threaten the

            government’s interest, then the law is not generally applicable.” Id.

                     52.     Defendants’ acts and policies are neither neutral nor of general application.

            Defendants’ restrictions have specifically and explicitly targeted Plaintiff’s religious and “faith-

            based” service and are thus not neutral on their face. Defendants have prohibited Plaintiff’s

            religious gathering while exempting a laundry list of other activities that occur at the Capitol,

            including media events, non-religious public gatherings, and various political and other events.

                     53.     In addition to relegating faith activities to a second-class status, Defendants will

            impose criminal penalties for violating their acts and policies, and have thus substantially

            burdened Plaintiff’s religious exercise by forcing him to choose between his sincerely held

            religious beliefs and his desire to follow secular rules.

                     54.     Laws and government actions that burden religious practice and are either not

            neutral or not generally applicable must satisfy a compelling governmental interest and be

            narrowly tailored to achieve that end.

                     55.     Defendant’s acts and policies are not “narrowly tailored” to further any

            compelling governmental interest. Defendants have granted numerous exemptions to their bans

            on gatherings at the Capitol, including for media and other activities. Since these gatherings may

            be permitted, there can be no doubt that Defendants may, and therefore must, permit Plaintiff to

            engage in equivalent religious activities and services provided that Plaintiff also adheres to the

            same associated guidelines.




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                     56.     Plaintiff has no adequate remedy at law and will suffer serious and irreparable

            harm to his constitutional rights unless Defendants are enjoined from implementing and

            enforcing their acts and policies.

                     57.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory relief

            and temporary, preliminary, and permanent injunctive relief invalidating and restraining

            enforcement of Defendants’ acts and policies.

                     58.     Plaintiff found it necessary to engage the services of private counsel to vindicate

            his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees pursuant to

            42 U.S.C. § 1988.

                                           FOURTH CAUSE OF ACTION
                   Claim for Violation of Plaintiff’s Constitutional Rights to Due Process of Law as
                       Guaranteed by the Fifth Amendment to the United States Constitution

                     59.     The Plaintiff hereby incorporates by reference paragraphs 1 through 58 of this

            complaint as though fully set forth herein.

                     60.     The Due Process Clause of the 5th amendment provides that no person shall “be

            deprived of life, liberty, or property, without due process of law …”.

                     61.     The prohibition of protected speech by Defendants impacts speech without any

            clear or precise standards subject to objective measurement or application, but instead are given

            meaning only through the exercise of unbridled discretion by those responsible for the

            enforcement of the acts and present practices of the Defendants complained of herein.

                     62.     The acts and present practices of the Defendants are unconstitutionally vague on

            their face because they allow the Defendants to deny the applications or request of the Plaintiff

            for permits and use of public grounds considered traditional public fora prior to and during the

            Plaintiff’s planned prayer vigil at the Lower Western Terrace of the Capitol on April 2, 2021,

            thereby depriving the Plaintiff of his constitutional rights to free speech.

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                     63.     The acts and present practices of the Defendants are also unconstitutionally

            overbroad on their face because they allow the Defendants to deny all permitted first amendment

            activity on traditional public forums.

                     64.     Plaintiff has no adequate remedy at law and will suffer serious and irreparable

            harm to his constitutional rights unless Defendants are enjoined.

                     65.     Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory relief

            and temporary, preliminary, and permanent injunctive relief invalidating and restraining

            Defendants from violating Plaintiff’s constitutional rights.

                     66.     Plaintiff found it necessary to engage the services of private counsel to vindicate

            his rights under the law. Plaintiff is therefore entitled to an award of attorneys’ fees pursuant to

            42 U.S.C. § 1988.

                                              FIFTH CAUSE OF ACTION
                              Claim for Violation of the Religious Freedom Restoration Act
                                                   42 U.S.C. § 2000bb

                     67.     Plaintiff hereby incorporates by reference paragraphs 1 through 66 of this

            complaint as though fully set forth herein.

                     68.     Plaintiff’s sincerely held religious belief requires him to spread the gospel

            including by holding a prayer vigil at the Lower Western Terrace at the Capitol on April 2, 2021.

                     69.     When Plaintiff complies with his personally held ethical and moral teachings on

            spreading the gospel of Jesus Christ and with his sincerely held religious beliefs, he exercises

            religion within the meaning of the Religious Freedom Restoration Act.

                     70.     Defendants’ policies and acts denying Plaintiff the right to worship impose a

            substantial burden on Plaintiff’s religious exercise and coerce him to change or violate his

            sincerely held religious beliefs.




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                     71.     Defendants’ policies and acts chill Plaintiff’s religious exercise within the

            meaning of RFRA.

                     72.     Defendants’ policies and acts expose Plaintiff to substantial fines and/or financial

            burdens for their religious exercise.

                                                    PRAYER FOR RELIEF

                     WHEREFORE, the Plaintiff prays this Honorable Court grant the following judgment in

            Plaintiff’s favor and the following relief:

                     1.      Declaratory relief that Defendants’ decision of denying the Plaintiff’s request to

            exercise his First Amendment rights at the Lower Western Terrace of the Capitol Building and

            for the use of traditional public space involving First Amendment rights would and does violate

            the Plaintiff’s rights under the First and Fifth Amendments and under federal law.

                     2.      Enter a permanent injunction requiring the Defendants, their agents, employees,

            and all persons acting in concert with Defendants to refrain from utilizing and/or enforcing the

            acts and present practices relevant to this proceeding to wit: allow Plaintiff to exercise his First

            Amendment rights to engage in his proposed prayer vigil at the Lower Western Terrace at the

            Capitol on April 2, 2021;

                     3.      In the event that Defendants enforce the acts and present practices complained of

            herein against this Plaintiff before this matter can be heard by the Court, that this Court issue an

            order requiring the Defendants to refrain from utilization and/or enforcement of the acts and

            present practices complained of herein and thereafter a permanent injunction would issue against

            Defendants, their agents, employees and all acting in concert with them and preclude them from

            utilizing and/or enforcement of the acts and present practices complained of herein;




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                     4.      Enter preliminary and permanent injunctive relief to prevent the Defendants, their

            officers, agents, employees, successors, attorneys, and all persons acting in concert with them to

            be restrained and enjoined from interfering in any manner with Plaintiff’s fundamental rights of

            free speech, due process of law, and freedom of assembly and association and religion;

                     5.      That the Court judge, decree, declare, and render a Declaratory Judgment that the

            prohibition of Plaintiffs’ speech and the policies and practices of the Defendants complained of

            herein is unconstitutional on its face and/or as applied to suppress Plaintiff’s First Amendment

            rights in violation of the First and Fifth Amendments to the United States Constitution and

            Federal law;

                     6.      That this Court retain jurisdiction of this matter for the purposes of enforcing the

            Court order;

                     7.      That this Court issue the requested injunctive relief without a condition of bond or

            surety or other security being required of Plaintiff;

                     8.      Award the Plaintiff reasonable costs and attorneys’ fees pursuant to U.S.C.

            Section 1988; and

                     9.      Grant the Plaintiff such other relief as the Court deems necessary and proper.



            Dated: March 30, 2021                                   Respectfully submitted,


            _/s Brian R. Chavez-Ochoa_________
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                                                        VERIFICATION

                     I declare under penalty of perjury that the foregoing is true and correct.


                                                              Executed this 30th day of March 2021.

                                                              _______________________________
                                                              Rev. Patrick J. Mahoney




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